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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND, SOUTHERN DIVISION

J.O.P., et al.,
Plaintiffs,
Vv.

Case No. 8:19-cv-01944-SAG

U.S. DEPARTMENT OF HOMELAND
SECURITY, ef al.

Defendants.

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DEFENDANTS’ STATUS REPORT IN REPONSE TO THE COURT’S

JUNE 5, 2025 ORDER

Pursuant to this Court’s June 5, 2025 Order directing Defendants to file a weekly status
report in the form of “a declaration from an individual with personal knowledge” addressing: (1)
Cristian’s current physical location and custodial status; (2) what steps, if any, Defendants have
taken to facilitate Cristian’s return to the United States; and (3) what additional steps Defendants
will take, and when, to facilitate Cristian’s return;” and May 28, 2025 Order, see ECF Nos. 280
and 287, Defendants submit the Declaration of Acting Deputy Executive Associate Director
Mellissa B. Harper, attached to this filing as Exhibit A. Defendants regret the inconvenience
caused to the Court and Class Counsel by the delayed filing of the status report. The arrangement
discussed in Exhibit A did not come to fruition until approximately 3:45pm Eastern Standard Time
on July 18, 2025, which is why Department of State’s update to Department of Homeland Security
was delayed. The Department of State has also pledged to assist Department of Homeland Security
in facilitating the return of Cristian should he wish to return.

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Dated: July 18, 2025 Respectfully submitted,

BRETT A. SHUMATE
Assistant Attorney General
Civil Division

WILLIAM C. PEACHEY
Director
Office of Immigration Litigation

YAMILETH G. DAVILA
Assistant Director

Kelark A. Habashi
Richard G. Ingebresten
Brandon D. Zeller
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/s/Erhan Bedestani

ERHAN BEDESTANI

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Attorneys for Defendants
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CERTIFICATE OF SERVICE

I hereby certify that on July 18, 2025, I served a copy of the foregoing on counsel for

Plaintiffs via the Court’s CM/ECF e-filing system.

/s/ Erhan Bedestani

Erhan Bedestani (MN Bar 0504824)
Trial Attorney

United States Department of Justice
Civil Division

Office of Immigration Litigation

Attorney for Defendants
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EXHIBIT A
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
(Southern Division)

J.O.P., et al.,
Plaintiffs,
v.
8:19-CV-01944-SAG
U.S. DEPARTMENT OF Declaration of
HOMELAND SECURITY, ef al, Acting Assistant Director
Mellissa B. Harper
Defendants.

DECLARATION OF MELLISSA B. HARPER
I, Mellissa B. Harper, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

1. I am currently employed by the U.S. Department of Homeland Security (DHS),
U.S. Immigration and Customs Enforcement (ICE), Enforcement and Removal Operations
(ERO) as the Acting Assistant Director (A)AD. I have held this position since July, 2025.

2. As (A)AD, I oversee the mission of ERO’s eight headquarters divisions:
Enforcement, Removal, Non-Detained Management, Custody Management, Field Operations,
ICE Health Service Corps, Law Enforcement Systems and Analysis, and Operations Support.

3. I am aware of the court’s order in J.O.P. v. Department of Homeland
Security, ECF No. 254, which orders the Defendants to facilitate the return of an alien with
the pseudonym Cristian. I am also aware of ECF No. 293, which orders the Defendants to
file weekly status reports in the form of a declaration.

4, U.S. Department of State (DOS) is the agency of the United States
Government responsible for high-level diplomatic discussions.

5. DHS has informed the DOS of the Court’s order and requested DOS

assistance in complying with the Court’s order, including by entering into negotiations to
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facilitate Cristian’s return. DOS has acknowledged the request.

6. Given the nature of the diplomatic discussions necessitated by the court’s
order to facilitate Cristian’s return to the United States, which would involve engagement
with the highest levels of the Salvadoran government, and as conveyed to you previously,
DOS including in country Embassy officials has assumed responsibility on behalf of the
U.S. Government for these diplomatic discussions with El Salvador.

7. DOS informed me today, on July 18, 2025, that the Salvadoran government
in the sole exercise of its sovereign authority, released Cristian from CECOT, along with
251 other Venezuelan nationals, to be flown to their home country of Venezuela, as part of
an arrangement between El Salvador and the Maduro regime. Maduro, in turn, released ten
wrongful detainees and 80 Venezuelan political prisoners.

8. While the United States engaged in diplomatic efforts help make this
arrangement possible, the decision to release the Venezuelan nationals from CECOT, and to
repatriate them to Venezuela, was made solely by the Government of El Salvador in the
exercise of its sovereign authority.

9. As part of these negotiations, the United States obtained assurances from the
Maduro regime that (1) if and when U.S. legal proceedings reach a stage where the
appearance of one of the 252 Venezuelan nationals formerly housed at CECOT may be
called for in legal proceedings or required by a court; (2) if the U.S. government is prepared
to facilitate the person’s travel to the United States for that purpose; and (3) if the individual
is willing to travel to the United States for that purpose, the Maduro regime will not impose

obstacles to the individual’s travel.

I declare, under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief, as of the time of signature.
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Executed this 18th day of July 2025.

Digitally signed by MELLISSA B

MELLISSA er
DN: cn=MELLISSA B HARPER, o=U.S,

Government, ou=People,

email=Mellissa.B.Harper@ice.dhs.gov,
c=US
. 96-88-0500

Mellissa B. Harper

Acting Assistant Director

Removal! Division

Enforcement and Removal Operations

U.S. Immigration and Customs Enforcement
U.S. Department of Homeland Security
